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                United States Court of Appeals
                                 For the First Circuit
                                    _____________________
 No. 20-1581

                       SECURITIES AND EXCHANGE COMMISSION,

                                       Plaintiff - Appellee,

                                                 v.

                  NAVELLIER & ASSOCIATES, INC.; LOUIS NAVELLIER,

                                     Defendants - Appellants.
                                      __________________

                                              Before

                                  Torruella, Kayatta and Barron,
                                          Circuit Judges.
                                      __________________

                                      ORDER OF COURT

                                     Entered: August 20, 2020

         Before the court is Appellee "Securities and Exchange Commission's Motion for a Limited
 Remand and Stay of the Briefing Schedule to Allow the District Court to Make Additional Factual
 findings and Conclusions of Law Regarding the Disgorgement Award in Light of Liu v. SEC."
 After review and consideration of the motion in question and of the appellants' opposition to the
 same, the motion is ALLOWED. This court otherwise retains jurisdiction.

        The parties shall promptly inform this court when the district court issues its decision on
 remand. Any briefing schedule in the within appeal shall be issued only by further order of this
 court.

        Appellants' Motion for Leave to File Sur-reply is DENIED.

        So ordered.


                                                       By the Court:

                                                       Maria R. Hamilton, Clerk
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         Case 1:17-cv-11633-DJC    2   Date
                                Document 322 Filed:
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 cc:
 Hon. Denise Jefferson Casper
 Robert Farrell, Clerk, United States District Court for the District of Massachusetts
 Steven Joel Brooks
 Samuel Kornhauser
 Jennifer A. Cardello
 Robert Bradley Baker
 Donald Campbell Lockhart
 William J. Donahue
 Paul Gerard Alvarez
 Marc Jonathan Jones
 Rachel McKenzie
